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 8   Attorneys for Plaintiff

 9
                                UNITED STATES DISTRICT COURT
10
                               CENTRAL DISTRICT OF CALIFORNIA
11

12
      LAMYA BREWSTER, individually and                       Case No.
13    as class representative,
                                                             NOTICE OF INTERESTED
14                             Plaintiff,                    PARTIES

15    vs.

16    CITY OF LOS ANGELES, a municipal
      corporation; LOS ANGELES POLICE
17    DEPARTMENT, a public entity, CHIEF
      CHARLIE BECK, individually and in his
18    official capacity, and Does 1 through 10,

19                             Defendants.

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     TO THE COURT:
21
            The undersigned, counsel of record for Plaintiff, certifies that the following listed
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     parties have a direct, pecuniary interest in the outcome of this case: Lamya Brewster.
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     This representation is made to enable the Court to evaluate possible disqualification or
24

25
     recusal.

26   ///

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 Case 5:14-cv-02257-JGB-SP Document 3 Filed 11/02/14 Page 2 of 2 Page ID #:19



 1   DATED: November 2, 2014
 2                               DONALD W. COOK
                                 Attorney for Plaintiff
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 5                        By____________________________
                                  Donald W. Cook
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